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                           UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

EMPIRE CORVETTE OF AMERICA,
INC.,

                       Plaintiff,

v.                                                             Case No: 6:18-cv-26-Orl-22DCI

JUST TOYS CLASSIC CARS, LLC,

                       Defendant.


                                             ORDER

       On April 12, 2018 this Court entered its Case Management and Scheduling Order

designating David S. Cohen as Lead Counsel pursuant to Local Rule 9.04(a)(3) and requiring

“Designated Lead Counsel shall contact opposing counsel and the mediator to reserve a

conference date and shall file a Notice with the Court within 14 days of the date of this Order

advising of the date.” (Doc. 21). Counsel has failed to file the Notice of Mediation Conference.

       Based on the foregoing, it is ordered as follows:

       1.      No later than May 21, 2018, Mr. Cohen shall show cause as to why he should not

be sanctioned for failure to comply with this Court’s Order, and shall file the required Notice.

       DONE and ORDERED in Orlando, Florida on May 8, 2018.




Copies furnished to:
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Counsel of Record




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